Case: 1:14-cv-01938 Document #: 53-3 Filed: 03/28/16 Page 1 of 5 PageID #:365




                EXHIBIT C
Case: 1:14-cv-01938 Document #: 53-3 Filed: 03/28/16 Page 2 of 5 PageID #:366
Case: 1:14-cv-01938 Document #: 53-3 Filed: 03/28/16 Page 3 of 5 PageID #:367
Case: 1:14-cv-01938 Document #: 53-3 Filed: 03/28/16 Page 4 of 5 PageID #:368
Case: 1:14-cv-01938 Document #: 53-3 Filed: 03/28/16 Page 5 of 5 PageID #:369
